             Case 4:17-cr-06040-SAB                  ECF No. 88           filed 03/22/24           PageID.442 Page 1 of 8
                                                                                                                        FILED IN THE
 AO 245B (Rev. WAED 11/16) Judgment in a Criminal Case                                                              U.S. DISTRICT COURT
         Sheet 1 Revised by WAED - 02/17                                                                      EASTERN DISTRICT OF WASHINGTON




                                        UNITED STATES DISTRICT COURT Mar 22, 2024                                   SEAN F. MCAVOY, CLERK
                                                     Eastern District of Washington

             UNITED STATES OF AMERICA                                      AMENDED JUDGMENT IN A CRIMINAL CASE
                        v.
                ZAYNE KENT BARBRE                                          Case Number:          4:17-CR-06040-SAB-1
                                                                           USM Number:           21074-085
                                                                                                    Nicholas Wright Marchi
                                                                                                       Defendant's Attorney
 Date of Original Judgment                  2/11/2019
 ☐
 ☐

THE DEFENDANT:
 ☒ pleaded guilty to counts         1, 2, 3, 5, and 6 of the Indictment
       pleaded nolo contendere to count(s)
 ☐     which was accepted by the court.
       was found guilty on count(s) after a
 ☐     plea of not guilty.

The defendant is adjudicated guilty of these offenses:
 Title & Section                            Nature of Offense                                                   Offense Ended               Count
  18 U.S.C. 2251(a) - PRODUCTION OF CHILD PORNOGRAPHY                                                               03/08/2017                1
  18 U.S.C. 2251(a) - PRODUCTION OF CHILD PORNOGRAPHY                                                               02/28/2015                2
  18 U.S.C. 2251(a) - PRODUCTION OF CHILD PORNOGRAPHY                                                               12/11/2016                3
  18 U.S.C. 2251(a) - PRODUCTION OF CHILD PORNOGRAPHY                                                               01/20/2017                5
  18 U.S.C. 2252A(a)(2) - DISTRIBUTION OF CHILD PORNOGRAPHY                                                         03/03/2015                6

        The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Counts     All remaining counts                     ☐ is ☒ are dismissed on the motion of the United States
      It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                2/7/2019
                                                                Date of Imposition of Judgment




                                                                Signature of Judge


                                                                The Honorable Stanley A. Bastian                 Chief Judge, U.S. District Court
                                                                Name and Title of Judge
                                                                3/22/2024
                                                                Date
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         Sheet 2 - Imprisonment

 DEFENDANT:           ZAYNE KENT BARBRE
 Case Number:         4:17-CR-06040-SAB-1


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of: 28 years as to Count 1; 28 years as to Count 2; 28 years as to Count 3; 28 years as to Count 5; 20 years as to Count 6. Terms
to run concurrent with each other and with the term of imprisonment imposed in Benton County Superior Court Cause No. 17-1-
00259-7, once adjudicated, for a total term of imprisonment of 28 years.

Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.




 ☐ The court makes the following recommendations to the Bureau of Prisons:




 ☒ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                           ☐    a.m.     ☐     p.m.    on

          ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before 2 p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.

                                                                 RETURN
I have executed this judgment as follows:


         Defendant delivered on                                                     to


at                                                , with a certified copy of this judgment.


                                                                           ______________________________________________________
                                                                                              UNITED STATES MARSHAL

                                                                       By ______________________________________________________
                                                                                          DEPUTY UNITED STATES MARSHAL
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           Sheet 3 – Supervised Release

 DEFENDANT:           ZAYNE KENT BARBRE
 Case Number:         4:17-CR-06040-SAB-1


                                                     SUPERVISED RELEASE
Upon release from imprisonment, you shall be on supervised release for a term of : Life with respect to each of counts 1, 2, 3, 5, and 6
to be served concurrent to each other for a total term of Life.




                                                 MANDATORY CONDITIONS
 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance, including marijuana, which remains illegal under federal law.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
      release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ☐ The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
 4.   ☒     You  must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.   ☒ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
 attached page.
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            Sheet 3A – Supervised Release

 DEFENDANT:           ZAYNE KENT BARBRE
 Case Number:         4:17-CR-06040-SAB-1

                                   STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
       your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
       different time frame.
 2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
       how and when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
       from the court or the probation officer.
 4.    You must be truthful when responding to the questions asked by your probation officer.
 5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
       notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
       officer within 72 hours of becoming aware of a change or expected change.
 6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
       officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
       from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
       officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
       or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation
       officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer
       within 72 hours of becoming aware of a change or expected change.
 8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
       been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
       permission of the probation officer.
  9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
       that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
       nunchakus or tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting the permission of the court.
 12.   If this judgment imposes restitution, a fine, or special assessment, it is a condition of supervised release that you pay in
       accordance with the Schedule of Payments sheet of this judgment. You shall notify the probation officer of any material change
       in your economic circumstances that might affect your ability to pay any unpaid amount of restitution, fine, or special
       assessments.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


 Defendant's Signature                                                                            Date
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           Sheet 3D – Supervised Release

 DEFENDANT:           ZAYNE KENT BARBRE
 Case Number:         4:17-CR-06040-SAB-1

                                      SPECIAL CONDITIONS OF SUPERVISION
1. You must not communicate, or otherwise interact, with MV1 (KR), MV2 (J. B-W.), MV3 (NG), and MV4 (TM), either directly or
through someone else, without first obtaining the permission of the probation officer. You must not enter the premises or loiter within
1000 feet of the victim’s residence or place of employment.

2. You must not have direct contact with any child you know or reasonably should know to be under the age of 18, without the
permission of the probation officer. If you do have any direct contact with any child you know or reasonably should know to be under
the age of 18, without the permission of the probation officer, you must report this contact to the probation officer within 24 hours.
Direct contact includes written communication, in-person communication, or physical contact. Direct contact does not include
incidental contact during ordinary daily activities in public places.

3. You must not be employed in any occupation, business, or profession, or participate in any volunteer activity which provides
access to children under the age of 18, unless authorized by the supervising officer.

4. You must maintain a complete and current inventory of your computer equipment and provide it to the supervising officer. You
must provide a monthly record of computer usage and bills pertaining to computer access to the supervising officer.

5. You must allow the probation officer to install computer monitoring software on any computer (as defined in 18 U.S.C. §
1030(e)(1)) you use.

6. To ensure compliance with the computer monitoring condition, you must allow the probation officer to conduct initial and periodic
unannounced searches of any computers (as defined in 18 U.S.C. § 1030(e)(1)) subject to computer monitoring. These searches shall
be conducted to determine whether the computer contains any prohibited data prior to installation of the monitoring software, whether
the monitoring software is functioning effectively after its installation, and whether there have been attempts to circumvent the
monitoring software after its installation. You must warn any other people who use these computers that the computers may be subject
to searches pursuant to this condition.

7. You must submit your computers (as defined in 18 U.S.C. § 1030(e)(1)) or other electronic communications or data storage devices
or media, to a search. You must warn any other people who use these computers or devices capable of accessing the Internet that the
devices may be subject to searches pursuant to this condition. A probation officer may conduct a search pursuant to this condition only
when reasonable suspicion exists that there is a violation of a condition of supervision and that the computer or device contains
evidence of this violation. Any search will be conducted at a reasonable time and in a reasonable manner.

8. You must allow the probation officer, or designee, to conduct random inspections, including retrieval and copying of data from any
computer, or any personal computing device that you possess or have access to, including any internal or external peripherals. This
may require temporary removal of the equipment for a more thorough inspection. You must not possess or use any public or private
data encryption technique or program. You must purchase and use such hardware and software systems that monitor your computer
usage, if directed by the supervising officer.

9. You are prohibited from possessing or manufacturing any material, including videos, magazines, photographs, computer-generated
depictions, or any other media that depict sexually explicit conduct involving children or adults, as defined at 18 U.S.C. § 2256(2).
You must not enter any establishment involved in the sex industry, including but not limited to adult bookstores, massage parlors, and
strip clubs. You must not utilize any sex-related adult telephone numbers. The supervising officer is authorized to monitor compliance
in this area by obtaining relative records including but not limited to telephone, Internet, credit cards and bank statements.

10. The defendant shall report to the Probation Office any and all electronic communications service accounts [as defined in 18
U.S.C. § 2510(15)] used for user communications, dissemination and/or storage of digital media files (i.e. audio, video, images). This
includes, but is not limited to, email accounts, social media accounts, and cloud storage accounts. The defendant shall provide each
account identifier and password, and shall report the creation of new accounts, changes in identifiers and/or passwords, transfer,
suspension and/or deletion of any account within 5 days of such action. Failure to provide accurate account information may be
grounds for revocation. The Probation Office is permitted to access and search any account(s) using the defendant's credentials
pursuant to this condition only when reasonable suspicion exists that the defendant has violated a condition of his supervision and that
the account(s) to be searched contain evidence of this violation.
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 AO 245B   (Rev. WAED 11/16) Judgment in a Criminal Case                                                            Judgment -- Page 6 of 8
           Sheet 3D – Supervised Release


 DEFENDANT:           ZAYNE KENT BARBRE
 Case Number:         4:17-CR-06040-SAB-1

                                      SPECIAL CONDITIONS OF SUPERVISION
11. You must submit your person, residence, office, or vehicle and belongings to a search, conducted by a probation officer, at a
sensible time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision.
Failure to submit to search may be grounds for revocation. You must warn persons with whom you share a residence that the premises
may be subject to search.

12. You must complete a sex offender evaluation, which may include psychological and polygraph testing. You must pay according
to your ability and allow the reciprocal release of information between the evaluator and supervising officer.

13. You must actively participate and successfully complete an approved state-certified sex offender treatment program. You must
follow all lifestyle restrictions and treatment requirements of the program. You must participate in special testing in the form of
polygraphs, in order to measure compliance with the treatment program requirements. You must allow reciprocal release of
information between the supervising officer and the treatment provider. You must pay for treatment and testing according to your
ability.

14. You must undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
further order of the court. You must contribute to the cost of treatment according to your ability to pay. You must allow full reciprocal
disclosure between the supervising officer and treatment provider.

15. You must not enter into or remain in any establishment where alcohol is the primary item of sale. You must abstain from alcohol
and must submit to urinalysis and Breathalyzer testing as directed by the supervising officer, but no more than six tests per month, in
order to confirm continued abstinence from this substance.

16. You must abstain from the use of illegal controlled substances, and must submit to urinalysis and sweat patch testing, as directed
by the supervising officer, but no more than six tests per month, in order to confirm continued abstinence from these substances.
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 AO 245B     (Rev. WAED 11/16) Judgment in a Criminal Case                                                                   Judgment -- Page 7 of 8
             Sheet 5 – Criminal Monetary Penalties

 DEFENDANT:             ZAYNE KENT BARBRE
 Case Number:           4:17-CR-06040-SAB-1

                                            CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                Assessment              JVTA Assessment*                 Fine                          Restitution
 TOTALS                         $500.00                 $0.00*                           $0.00                         *$16,217.29

 ☐ The determination of restitution is deferred until      . An Amended Judgment in a Criminal Case (AO245C) will be
       entered after such determination.
 ☒     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
           the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
           before the United States is paid.

Name of Payee                                                           Total Loss**          Restitution Ordered       Priority or Percentage




*Crime Victims Compensation Program                                        $297.29                   $297.29                         in full

J. B.-W.                                                                   $320.00                   $320.00                         in full

*K. E. R.                                                                  $15,600.00                $15,600.00                      in full

TOTALS                                                                     $16,217.29                $16,217.29




*Court finds the defendant indigent with respect to the JVTA Assessment.




 ☐ Restitution amount ordered pursuant to plea agreement               $

 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
       may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☒ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
               the interest requirement is waived
       ☒ for the                                             ☐ fine                         ☒            restitution
       ☐ the interest requirement for the                    ☐ fine                         ☐            restitution is modified as follows:


* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
              Case 4:17-cr-06040-SAB                     ECF No. 88             filed 03/22/24           PageID.449 Page 8 of 8
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             Sheet 6 – Schedule of Payments

 DEFENDANT:              ZAYNE KENT BARBRE
 Case Number:            4:17-CR-06040-SAB-1

                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A ☐         Lump sum payments of $                                         due immediately, balance due
   ☐         not later than                                                           , or
   ☐         in accordance with         ☐ C, ☐ D, ☐ E, or       ☐ F below; or
 B ☒         Payment to begin immediately (may be combined with ☐ C, ☐ D, or                                  ☒ F below); or
 C ☐         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                              (e.g., months or years), to commence               (e.g., 30 or 60 days) after the date of this judgment; or
 D     ☐     Payment in equal    (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                                (e.g., months or years), to commence            (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or
 E     ☐     Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
 F     ☒     Special instructions regarding the payment of criminal monetary penalties:

     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is less, commencing 30 days after the defendant is released from imprisonment.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the following address until monetary penalties are paid in full: Clerk, U.S.
District Court, Attention: Finance, P.O. Box 1493, Spokane, WA 99210-1493.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
 ☒ Joint and Several1
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.

        Zayne Kent Barbre (4:17-cr-6040-SAB) and Beau Thomas Upton (4:17-cr-6041-SAB); $15,897.29, joint and several.
 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☒ The defendant shall forfeit the defendant's interest in the following property to the United States:
        Acer Aspire One laptop computer (S/N: 62600385323); IPhone 6s (S/N: FK1NN6BTG5QV); White MacBook computer (S/N:
        W87498LAZ63); Toshiba external hard drive (S/N: 81V6P7Q5T); Hitachi external hard drive (S/N: 2512010101330A58); LG-
        K425 GSM cellular phone (S/N: 606CYTB022801); ZTE cellular phone (S/N: 32576706268A); MyBook LiveDuo NAS (S/N:
        WUZ230301558); WD Passport hard drive (S/N: WX41C12V1923); Mac G4 computer (S/N: XB2051VNM8G); PNY Optima
        2GB SD card; Samsung Micro 16 BG SD card; and LGL62VL TracFone (S/N: 608CYDG0445674).




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
